       Case 1:21-cv-00141-CCC-MA Document 7 Filed 02/16/21 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 RE:         Moser v. Centre County
             Correctional Center, et al
                                                  Civil Action No: 1:21-CV-0141
 Inmate: Robert Moser

 ID:         20-0800



                     FIFTEEN (15) DAY ADMINISTRATIVE ORDER

                                   FEBRUARY 16, 2021



       In order for the Court to determine the sufficiency of the Plaintiff’s Motion for Leave

to Proceed in forma pauperis pursuant to 28 U.S.C. § 1915 (Doc. 6) , certain additional

information is necessary.

       Accordingly, IT IS HEREBY ORDERED that the Warden or other appropriate

official shall, within fifteen (15) days of this Order, provide to the Court, under oath, or

declare under penalty of perjury, a statement of the current balance in the Plaintiff’s

account and a record of the transactions in his account that have occurred within the

preceding six (6) months.



                                                  PETER J. WELSH
                                                  CLERK OF COURT

                                                  s/LP
                                                  Pro Se Legal Assistant
